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soantcstatcnf (03/22)

                                 UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF TEXAS
                                     WHICHITA FALLS DIVISION

In Re:                                                      §
High Plains Radio Network, LLC                              §    Case No.: 24−70089−swe11
                                                            §    Chapter 11, Subchapter V
                                         Debtor(s)          §


                        SCHEDULING ORDER AND NOTICE OF STATUS CONFERENCE
    The above−captioned debtor (the "Debtor") has elected to proceed with this case under Subchapter V of Chapter
11 of the United States Bankruptcy Code (the "Bankruptcy Code"). This Scheduling Order and Notice of Status
Conference facilitates the efficient administration of this Chapter 11 case and ensures adequate and proper notice to
all affected parties.

Accordingly, IT IS ORDERED:

   1. Subchapter V Case. Unless otherwise ordered by the Court, this case is governed by the provisions of
Subchapter V of Chapter 11 of the Bankruptcy Code and the Interim Federal Rules of Bankruptcy Procedure as
adopted by this Court by General Order 2020−01.

   2. Debtor's Compliance with § 1187. The Debtor must comply with the duties and reporting requirements set forth
in § 1187 of the Bankruptcy Code.

   3. Service of Notice of Commencement of Case by the Debtor. The Debtor must serve notice of the
commencement of this case as required under Federal Rule of Bankruptcy Procedure 2015(a)(4) on any entity known
to be holding money or property subject to withdrawal or order of the Debtor within 7 days after entry of the date of
this Order.

   4. Objections to Designation. Any objection to the Debtor's designation as a small business debtor under
Subchapter V of Chapter 11 of the Bankruptcy Code must be filed with the Court and served in accordance with
Federal Rule of Bankruptcy Procedure 1020(b) no later than 30 days after the conclusion of the § 341 meeting of
creditors, or within 30 days after any amendment to the Subchapter V designation, whichever is later.

   5. Status Conference. A Status Conference has been set on 5/23/24 at 09:30 AM in the U.S. Bankruptcy Court,
before the Honorable Scott W Everett at U.S. Post Office/Federal Building, 1000 Lamar, Room 222, Wichita Falls,
TX 76301 to consider resolution of the case pursuant to 11 U.S.C. § 1188.

   6. Debtor's § 1188(c) Report. The Debtor must file with the Court and serve on the Subchapter V trustee and all
parties in interest the pre−status conference report required under § 1188(c) of the Bankruptcy Code no later than
May 9, 2024. The Debtor's report shall include, at a minimum, a description of the Debtor's business and operations,
the Debtor's efforts to formulate a Chapter 11 plan of reorganization and the Debtor's efforts to communicate with
creditors regarding any such plan.

   7. Plan of Reorganization. Unless otherwise ordered by the Court, the Debtor must file with the Court a plan of
reorganization in accordance with § 1189 of the Bankruptcy Code on or before 6/24/24. The Debtor may amend its
plan of reorganization any time before the confirmation hearing in accordance with § 1193(a) of the Bankruptcy
Code.

   8. Interim Trustee Compensation. Within 30 days of the petition date and continuing monthly thereafter, Debtor
shall remit to the Subchapter V trustee interim compensation in the amount of $1,000. The amount of interim
compensation is subject to adjustment by the Court, after notice and hearing upon request of any interested party, and
subject to final approval by the Court under 11 U.S.C. § 330. Debtor shall include this interim compensation in any
proposed cash collateral budget.

   9. Additional Deadlines. The Court will issue subsequent orders that fix the dates for the filing of objections to the
plan of reorganization, acceptance, or rejection of the plan of reorganization, the confirmation hearing, and any
additional dates as may be established by the Court.
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                           ### END OF ORDER ###
